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FILE!

GUILLERMOR.GARCIA, gy 27-2012 MLR

 

 

 

United States Magistrate Judge, Presiding
David J. Bradley, Clerk

Laredo Divison
Deputy Clerk Mayra Ramirez Open 08:15AM
Court Reporter Aimee Veliz , ERO
Court Interpreter Francisco Vergara (used) Adjourn 08:17 AM
U.S. Pretrial Julio Taboada
U.S. Marshal Joseph Thorton DATE November 21, 2012

U.S. Probation Clara Cavazos

Western District of Texas / San Antonio Division Docket No: SA:11-CR-0980-OLG(01)
Southern District of Texas / Laredo Division Docket No. 5:12-MJ-1487

United States of America § Michelle Marshall / Robert Ramirez , AUSA
vs §
Carlos Omar Zelaya-Romero, Defendant § AFPD Dan Ramirez (on duty), Dft's Atty

 

Courtroom Minutes
Initial Appearance

v Initial appearance on [Warrant on Arrest].
v Dft’s first appearance. Dft. Advised of charges and rights.
v Dft. advised of charges.
Indictment
Violation of Pretrial Release Violation of Misdemeanor Probation
wv Violation of Supervised Release Term Other:
v FINANCIAL AFFIDAVIT, executed and filed.
v Defendant requests appointed counsel.
v Federal Public Defender, appointed.
v No bond set. Defendant ordered detained pending further proceedings.
v Identity / Detention / and Preliminary Examination - Supervised Release Violation Hearing set on

11/29/12 at 10:00 AM before U.S. Magistrate Judge Guillermo R. Garcia in Courtroom 3C.

Vv USPO, Clara Cavazos advised the Court, Probation was unaware as to Transfer of Jurisdiction
regarding this case.
v Defendant remanded to the custody of U.S. Marshals.

GRG/ MLR
